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UNITED STATES DISTRICT COURT
DISTRICT OF ARIZONA

David C. Maki,
Plaintiff,
vs.

NSI, LLC, a Nevada Limited Liability
Company, as the Managing General Partner of
Northern Sky Partners, II, L.P.; Allan P.
Harris, Individually, as Managing Member of
NSII, LLC, and as Co-Manager of Northern
Sky Partners, II, L.P.; John W. Kercheval, III,
Individually, as Managing Member of NSII,
LLC, and as Co-Manager of Northern Sky
Partners, II, L.P.; Sundin & Fish, PLC, an
Arizona Professional Limited Liability
Company; and Paul B. Sundin, Individually
and as Manager of Sundin & Fish, PLC,

Defendants.

CASE NO. 2:15-cv-02625-SPB

DEFENDANTS’ MOTION IN LIMINE
TO PRECLUDE
OTHER PARTNERSHIP
AGREEMENTS

(Assigned to the
Honorable Susan R. Bolton)

Defendants NSII, LLC, John Kercheval and Allan P. Harris (“Defendants”),

respectfully move the Court for an order precluding any reference to or use of other

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partnership agreements produced during the litigation because the other agreements are not
relevant and are unduly prejudicial and will cause confusion of the jury.

MEMORANDUM OF POINTS AND AUTHORITIES
I. INTRODUCTION AND FACTUAL BACKGROUND

During the course of discovery, Defendants produced other partnership agreements
for Northern Skies Partnership II that were executed by other limited partners. Further,
Plaintiff obtained earlier versions of partnership agreements for Northern Skies. It is
unclear what Plaintiff intends to use these agreements for at trial, but they are inadmissible
because they are not relevant and are unduly prejudicial and will confuse the jury during the

trial.
IL. THE OTHER PARTNERSHIP AGREEMENTS ARE INADMISSIBLE
UNDER RULES 401 AND 403.

Earlier versions of the partnership agreements for Northern Skies have nothing to do
with Plaintiff's claims and will cause confusion with the jury, waste time at trial and are
unduly prejudicial.

Only evidence that is relevant is admissible. Fed. R. Evid. 401. Evidence is relevant
if it tends “to make the existence of any fact that is of consequence to the determination of
the action” more or less probable. Fed. R. Evid. 402. Here, the earlier partnership
agreements are irrelevant. Plaintiff never saw the agreements prior to investing in Northern
Skies, and only obtained the agreements during the course of discovery. Plaintiff has
testified that he reviewed the Limited Partnership documents that he executed as part of the
investment, and had sufficient time to consult with anyone he deemed necessary. Plaintiff
has not identified anything about the earlier partnership agreements that would constitute
anything that he believes should have been disclosed by Defendants. Even so, the Limited

Partnership Agreement that Plaintiff executed has an integration clause that would make

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reference to some earlier versions absolutely irrelevant for purposes of trying to “undo” his
investment decision.

Moreover, the proffered evidence violates Rule 403, Fed. R. Evid. “The court may
exclude relevant evidence if its probative value is substantially outweighed by a danger of
one or more of the following: unfair prejudice, confusing the issues, misleading the jury,
undue delay, wasting time, or needlessly presenting cumulative evidence.” Fed. R.
Evid.403. Even if the prior agreements had some minimally probative value, the prior
agreements are highly prejudicial and likely to confuse the jury. Plaintiff may point to the
agreements as some basis for how he should have gotten a “better deal” on his investment
when he already had the Limited Partnership Agreement and ultimately executed that
version of the Agreement. Further, Defendants will be required to spend additional time at
trial clarifying the nuanced differences between the agreements and why certain things were
changed between each version of the agreements over time. This will result in possible
confusion by the jury and ultimately waste time on collateral, unrelated issues. Given the
prejudicial nature of the allegations and the potential to mislead the jury and confuse the
issues at trial, such substantially outweighs any minimal relevance of such evidence and is
inadmissible under Rule 403.

HI. CONCLUSION

For the foregoing reasons, the prior versions of the partnership agreements are

inadmissible and Defendants respectfully request that the Court preclude Plaintiff from

introducing evidence of or referencing the prior agreements at trial.

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DATED this 6" day of December, 2017.

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CERTIFICATE OF SERVICE

I hereby certify that on the 6" day of December, 2017, I electronically transmitted the
foregoing document to the U.S. District Court Clerk’s Office by using the CM/ECF System
for filing and transmittal of a Notice of Electronic Filing to the following CM/ECF

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By: __/s/ Stephanie DeBuhr

